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IN THE UNITED STATES DISTRICT COURT 195ng 18
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FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION ‘QC;`BEivy -,;H.`

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~`/` ir\.{j _JA CK"S.SH
ALLEN KINNEY III, §
ll
Plaintif`f, §
ll

VS. § No. 05-1026-T/An

ll
RICKY FITZPATRICK, §
il
Def`endant. §

 

ORDER TO COMPLY WITH PLRA
OR
PAY FULL $150 CIVIL FILING FEE

 

Plaintiff`Allen Kinney III, prisoner number 182302, Who is currently an inmate at the
Roederer Correctional Complex in LaGrange, Kentucky, filed a pro se complaint pursuant
to 42 U.S.C. § 1983 on February 2, 2005, in connection With his previous confinement at
the Obion County Jail in Union City, Tennessee.

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b),
all prisoners bringing a civil action must pay the full filing fee of $l 50 required by 28 U.S.C.
§ 19l4(a).l The statute merely provides the prisoner the opportunity to make a
“downpayment” of` a partial filing fee and pay the remainder in installments w M)_@

v. Wrigglesworth, 114 F.3d 601, 604 (6th Cir. 1997) (“[w]hen an inmate seeks pauper

 

1 Ef`fcctive March 7, 2005, the civil filing fee was increased to $250. Because this complaint was filed
prior to that time, the $150 filing fee is applicablel

Th\ document entered on the docket sheet in compliance
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with F\ule 58 and}or 19 (e} FRCP on @

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status, the only issue is whether the inmate pays the entire fee at the initiation of the
proceeding or over a period of time under an installment plan. Prisoners are no longer
entitled to a waiver of fees and costs.”).

In order to take advantage of the installment procedures, a prisoner plaintiff must
properly complete and submit to the district court, along with the complaint, either Form 4
of the Appendix of Forms found in the Federal Rules of Appellate Procedure, or an affidavit

that contains the same detailed information found in Forrn 4. McGore, 1 14 F.3d at 605. The

 

prisoner must also submit a certified prison trust fund account statement, showing all activity
in his account for the six months preceding the filing of the complaint, and specifically
showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and

3) the account balance When the complaint was submitted

In this case, the plaintiff submitted an in forma pauperis affidavit but the section
calling for a certification by the trust fund officer was left blank. Plaintiff also has not
submitted a certified trust fund account statement Therefore, at the present time, plaintiff
is not eligible to take advantage of the installment payment procedures of § 1915(b).
Plaintiff is, however, liable for the full $150 filing fee, Which accrued at the moment the
complaint was filed. Accordingly, plaintiff is hereby ORDERED to submit an in forma

pauperis affidavit containing a certification by the trust fund officer and a certified copy of

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his trust fund account statement or the full $150 civil filing fee to the following address
within thirty (30) days after the entry of this order1

Clerk, United States District Court, Westem District of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jackson, TN 38301

If plaintiff needs additional time to file the required documents, he may, within 30
days after the entry of this order, request an extension of time from this Court. Any

extension granted may not exceed an additional 30 days. McGore, 114 F.3d at 605. If

 

plaintiff fails to file the required documentation, the Court will assess the entire filing fee,
without regard to the installment payment procedures, and will dismiss the action, pursuant

to Fed. R. Civ. P. 4l(b), for failure to prosecute McGore, 114 F.3d at 605. If dismissed

 

under these circumstances, the case Will not be reinstated despite the subsequent payment
of the full filing fee and regardless of any request for pauper status. However, if plaintiff
timely submits the proper documentation, and the Court finds that plaintiff is indeed
indigent, then the Court will assess the filing fee in accordance With the installment
procedures of § l915(b). The Clerk is ORDERED to provide the plaintiff a copy of the
prisoner in forma pauperis affidavit form along with this order.

IT IS SO ORDERED this g f "day of April, 2005.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CV-01026 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Allen Kinney

Roederer Correctional Complex
# 1 823 02

P.O. Box 69

LaGrange, KY 40031

Honorable J ames Todd
US DISTRICT COURT

